        Case 2:22-cv-02451-WB Document 8 Filed 08/02/22 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                            :
                            :                        CIVIL ACTION
SAMUEL,                     :
           Plaintiff,       :
                            :
    v.                      :                        No.   22-2451
                            :
DELAWARE HOUSING AUTHORITY, :
           Defendants.      :


                                  ORDER

     AND NOW, this 2nd day of August 2022, upon consideration of Plaintiff’s

Motion to Appoint Counsel (ECF No. 7), it is hereby ORDERED that the Motion

is DENIED.


                                               BY THE COURT:

                                               /s/ Chad F. Kenney
                                               CHAD F. KENNEY, JUDGE




                                     1
